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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION


UNITED STATES OF AMERICA


v.                                                    CRIMINAL NO. 3:08cr60HTW-LRA

RODNEY DEON HORNE



                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

Count 4 and 5 of the Criminal Indictment against RODNEY DEON HORNE without prejudice.

                                                      STAN HARRIS
                                                      Acting United States Attorney

                                              By:     S/Darren J. LaMarca
                                                      DARREN J. LAMARCA
                                                      Assistant U.S. Attorney



       Leave of Court is granted for the filing of the foregoing dismissal.


      ORDERED this 29th day of July, 2009.

                                                      S/HENRY T. WINGATE
                                                      _______________________________
                                                      UNITED STATES DISTRICT JUDGE
